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         UNITED STATES DISTRICT COURT
   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                    No. 2:11-cr-00132-NR


   UNITED STATES,


                              v.

   RUSSELL FREED,

                                        Defendant.


                MEMORANDUM OPINION


   J. Nicholas Ranjan, United States District Judge

         In March 2012, Russell Freed pled guilty to seven
   counts of child-pornography charges. Currently serving a
   20-year prison sentence for these crimes, Mr. Freed now
   moves the Court for immediate compassionate release from
   prison due to the threat of the COVID-19 pandemic. Mr.
   Freed also requests that the Court appoint him counsel to
   pursue this request for early release.

         This Court has discussed the standard for granting
   such motions for early release in United States v.
   Somerville, — F. Supp. 3d —, 2020 WL 2781585 (W.D. Pa.
   May 29, 2020) (Ranjan, J.). Under that standard, a
   medically compromised prisoner’s showing of non-
   speculative risk of exposure to COVID-19 can justify
   compassionate release, unless the section 3553(a)
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   sentencing   factors   weigh   significantly   against   that
   outcome.

          Here, however, Mr. Freed has not made a strong
   enough showing to justify the significant sentence
   reduction he seeks. In particular, the Court finds that Mr.
   Freed has not sufficiently shown that he faces an actual,
   non-speculative, and non-generalized risk of exposure to
   COVID-19 in prison. The Court thus finds that Mr. Freed
   fails to show an “extraordinary and compelling” reason
   that justifies his early release. Further, the Court
   concludes that the section 3553(a) factors do not justify Mr.
   Freed’s release, given the severity and circumstances of his
   offenses and the nature of his original sentence.

         For these reasons, Mr. Freed’s motion is denied.

                          BACKGROUND

          Mr. Freed is serving a sentence of 20-years
   imprisonment after pleading guilty to the production and
   attempted production of child pornography in violation of
   18 U.S.C. § 2251(a) and (e); the distribution and receipt of
   child pornography in violation of 18 U.S.C. § 2252(a)(2);
   and the possession of child pornography in violation of 18
   U.S.C. § 2252(a)(4)(B). The term of imprisonment will be
   followed by supervised release for the remainder of Mr.
   Freed’s life.

         Having completed less than half of his prison
   sentence, Mr. Freed now moves under 18 U.S.C. §
   3582(c)(1)(A)(i) for a reduction of his prison sentence to
   time-served based on his underlying medical conditions
   and the risk of exposure to COVID-19 at FCI Fort Dix. The
   government opposes Mr. Freed’s release.

         Because the Court writes for the benefit of the
   parties, who are presumably familiar with the pertinent
   background facts, the Court will dispense with any
   comprehensive summary of those facts and only reference
   those facts necessary to its decision as they become
   relevant to the analysis below.
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                  DISCUSSION & ANALYSIS

   I.    The appointment of counsel for Mr. Freed to
         pursue his motion for release is not warranted.

         As an initial matter, Mr. Freed moves for the Court
   to appoint him counsel for purposes of his motion for
   release. The Court declines to do so.

          “Appointment of counsel is not mandatory.” 1 United
   States v. Evans, No. 13-173, 2020 WL 3574367, at *1 (W.D.
   Pa. June 30, 2020) (Conti, J.). It is instead up to the Court’s
   discretion whether to appoint counsel. See Tabron v. Grace,
   6 F.3d 147, 157 (3d Cir. 1993). In deciding whether to
   appoint counsel, a district court must first determine
   whether the pro se party’s claim has merit. See Evans,
   2020 WL 3574367, at *1 (citing Tabron, 6 F.3d at 155). If
   it does, the Court must then consider a variety of factors,
   to the extent they apply, including “(1) the merits of the
   claim; (2) the movant’s ability to present his case
   considering his education, literacy, experience, and the
   restraints placed upon him by incarceration; (3) the
   complexity of the legal issues; (4) the degree to which
   factual investigation is required and his ability to pursue
   such investigation; (5) his capacity to retain counsel on his
   own behalf; and (6) the degree to which the case turns on
   credibility determinations or expert testimony.” Id. (citing
   Tabron, 6 F.3d at 157).

          Turning first to the threshold issue of whether Mr.
   Freed’s claim has sufficient merit to reach the
   discretionary factors, the Court finds that it does. While
   the Court ultimately concludes—as explained below—that
   Mr. Freed’s “claim” for early release falls short, that is not
   to say that Mr. Freed’s claim for early release is entirely

   1 The Sixth Amendment’s right to counsel is not implicated
   here, as that constitutional right “only extends through a
   defendant’s first appeal.” United States v. Filbey, No. 2:13-
   CR-26, 2020 WL 3468181, at *1 (N.D. Ind. June 25, 2020)
   (citing Coleman v. Thompson, 501 U.S. 722, 756 (1991)).
   Mr. Freed has already appealed his criminal sentence. And
   rather than an appeal, his current motion under section
   3582(c)(1)(A) is an ancillary matter that does not implicate
   the right to counsel. Id. (citations omitted).
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   meritless. Rather, Mr. Freed presents competent
   arguments in moving for early release. See Heffley v.
   Steele, No. 17-01624, 2019 WL 5092127, at *3 (W.D. Pa.
   Oct. 11, 2019) (Hornak, J.) (opining that this threshold-
   merits issue requires “the plaintiff [to] present some
   factual showing that demonstrates he has more than an
   extremely slim chance of success on the merits” (citing
   Montgomery v. Pinchak, 294 F.3d 492, 501 (3d Cir. 2002))
   (cleaned up)). Because the Court finds that Mr. Freed has
   shown more than “an extremely slim chance of success” in
   his motion, the Court concludes that the threshold-merits
   issue has been met. As such, the Court turns now to the
   applicable discretionary factors.

          Here, the most significant factor in determining
   whether to appoint counsel is Mr. Freed’s ability to present
   his own case. See Houser v. Folino, 927 F.3d 693, 699 (3d
   Cir. 2019) (finding that this factor is “perhaps the most
   significant of Tabron’s post-threshold factors” (cleaned
   up)). This is especially so due to the limited number of
   attorneys able and willing to be appointed as counsel. See
   Evans, 2020 WL 3574367, at *1 (“The court of appeals
   instructs that volunteer lawyer time is a valuable and
   scarce resource and therefore, district courts should not
   indiscriminately request counsel[.]” (citation omitted)); In
   v. Stroup, No. 19-00224, 2020 WL 5424043, at *1 (W.D. Pa.
   Sept. 10, 2020) (Lanzillo, J.) (“The Third Circuit has also
   recognized that there are significant practical restraints on
   the district court’s ability to appoint counsel, including: the
   ever-growing number of prisoner civil rights actions filed
   each year in the federal courts; the lack of funding to pay
   appointed counsel; and the limited supply of competent
   lawyers who are willing to undertake such representation
   without compensation.” (citation omitted) (cleaned up)).

         Mr. Freed does an excellent job of presenting his
   case. His 21-page opening brief is succinct and shows a
   commanding grasp of the legal and factual aspects of his
   claim. Likewise, his 13-page reply brief ably responds to
   the government’s opposition. (Indeed, as discussed below,
   the Court agrees with Mr. Freed’s position concerning the
   applicability of certain Sentencing Commission policy
   statements, and rejects the government’s arguments). Mr.
   Freed’s arguments are easy to follow, relevant, and display
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   an impressive level of knowledge. The Court thus finds
   that Mr. Freed is capable of presenting his own case.

          Mr. Freed does not suggest otherwise. Nor does his
   background suggest he is incapable of competent self-
   representation.     To the contrary, Mr. Freed is well
   educated, obtaining a bachelor’s degree in civil
   engineering. There is also no indication that Mr. Freed
   lacks the resources needed to ably present his case—
   rather, the data and citations presented in Mr. Freed’s
   briefs show he has sufficient access to information to
   present his case.        Thus, the Court concludes that
   appointment of counsel is not necessary. Cf. Tabron, 6 F.3d
   at 156 (“If it appears that an indigent plaintiff with a claim
   of arguable merit is incapable of presenting his or her case,
   serious consideration should be given to appointing
   counsel.” (emphasis added)).

           Further, the remaining discretionary factors are
   either inapplicable or weigh against appointing counsel.
   See Houser, 927 F.3d at 700 (“The District Court did not
   review any other Tabron factors before concluding that
   Houser should not receive new counsel . . . . It did not need
   to. We have always emphasized that the Tabron factors
   are only a guidepost for district courts in their exercise of
   the broad statutory discretion granted to them by
   Congress. They are not exhaustive, nor are they each
   always essential.”). There are no discovery issues here—
   indeed, no discovery is necessary for Mr. Freed’s motion.
   Cf. id. at 699 (“And when he asked for new counsel in this
   case, there was no further discovery to conduct. The
   concerns arising in other cases—a pro se litigant’s
   susceptibility to discovery tactics, technical rulings
   hindering      factual  investigations,      complex      and
   incomprehensible discovery rules—were not in play
   here.”). Nor is there a need for expert testimony or
   credibility determinations. And to the extent the legal
   issues relevant here are regarded as complex, Mr. Freed
   ably handles them.

         For these reasons, the Court does not find that
   appointment of counsel is warranted.
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   II.   Mr. Freed does not meet his burden of showing
         that early release under 18 U.S.C. §
         3582(c)(1)(A) is justified.

          Turning now to the substance of Mr. Freed’s motion
   concerning early release, a court usually “may not modify
   a term of imprisonment once it has been imposed.” 18
   U.S.C. § 3582(c). But there are “a few narrow exceptions”
   to this general “rule of finality.” Freeman v. United States,
   564 U.S. 522, 526 (2011). One is the compassionate-release
   statute, 18 U.S.C. § 3582(c)(1)(A), which allows a court to
   “reduce” a term of imprisonment if it finds that (1)
   “extraordinary and compelling reasons” warrant reduction;
   (2) the reduction is “consistent with applicable policy
   statements issued by the Sentencing Commission,” and (3)
   consideration of the ordinary sentencing factors under 18
   U.S.C. § 3553(a) favors reduction.

          Until last year, only the Bureau of Prisons (“BOP”)
   could file motions for compassionate release, and it “rarely
   did so.” United States v. Rodriguez, — F. Supp. 3d —, 2020
   WL 1627331, at *2 (E.D. Pa. Apr. 1, 2020). Indeed, “[f]rom
   1984 to 2013, an average of only 24 inmates were released
   each year through BOP-filed motions.” Id. (citation
   omitted). According to a report by the Department of
   Justice’s Inspector General, these low numbers resulted
   from a combination of poor management, inconsistent
   implementation, a lack of clear standards, and the
   resultant “varied and inconsistent understandings of the
   circumstances      that    warrant     consideration     for
   compassionate release.” Id. (citation omitted).

          Unsatisfied    with     the   compassionate-release
   program, Congress acted. In late 2018, it passed the First
   Step Act—a “landmark piece of criminal-justice reform
   legislation that amended numerous portions of the U.S.
   Code to promote rehabilitation of prisoners and unwind
   decades of mass incarceration.” Id. (cleaned up); see also
   United States v. Brooks, No. 07-20047, 2020 WL 2509107,
   at *4 (C.D. Ill. May 15, 2020) (“The First Step was passed
   against the backdrop of a documented infrequency with
   which the BOP filed motions for a sentence reduction on
   behalf of defendants.”). Of relevance here, section 603(b) of
   the First Step Act, which Congress titled “Increasing the
   Use and Transparency of Compassionate Release,”
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   amended section 3582(c)(1)(A) to allow prisoners to bring
   compassionate-release motions directly to court—so long
   as they first ask the BOP to file a motion on their behalf
   and then either exhaust the BOP’s administrative appeal
   process or wait 30 days, whichever comes first. See 18
   U.S.C. § 3582(c)(1); First Step Act of 2018, Pub. L. 115-391,
   132 Stat. 5194 (2018).

          With this legislative backdrop, the Court now
   addresses Mr. Freed’s pending motion. For the following
   reasons, the Court finds that Mr. Freed’s motion is properly
   before it but denies his request for release.

         A.     Mr. Freed has satisfied the 30-day
                “lapse”   period   to    exhaust his
                administrative remedies.

          Section 3582(c)(1)(A) permits a prisoner to bring a
   compassionate-release motion “after the defendant has
   fully exhausted all administrative rights to appeal a failure
   of the Bureau of Prisons to bring a motion on the
   defendant’s behalf or the lapse of 30 days from the receipt
   of such a request by the warden of the defendant’s facility,
   whichever is earlier[.]” 18 U.S.C. § 3582(c)(1)(A). In other
   words, the prisoner “must at least ask the [BOP] to [file a
   compassionate-release motion] on their behalf and give
   BOP thirty days to respond.” United States v. Raia, 954
   F.3d 594, 595 (3d Cir. 2020) (citing 18 U.S.C. §
   3582(c)(1)(A)).

         Here, the government does not dispute that Mr.
   Freed satisfied the statutory exhaustion requirements by
   requesting a reduction in sentence from the Warden of FCI
   Fort Dix more than 30 days ago. [ECF 85, p. 1, n.1]. The
   Court agrees that Mr. Freed has exhausted his
   administrative remedies. 2



   2 Mr. Freed’s request to the Warden was delivered on June
   15, 2020, and the Warden denied the request four days
   later. [ECF 82, p. 4, Ex. A]. Mr. Freed then filed his
   instant motion on July 9, 2020. [ECF 82]. While Mr. Freed
   filed his motion less than 30 days after the Warden
   received his request for release, it has now been well over
   30 days since the Warden received the request, and the
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         B.     The Court may consider whether there
                are “extraordinary and compelling”
                reasons for release under the “catch-all”
                category of the Sentencing Commission’s
                policy statement.

          Before addressing the merits of Mr. Freed’s motion,
   the Court must first address an argument by the
   government that this Court—and others—have now
   rejected multiple times. The government appears to argue
   that in determining whether a sentence reduction is
   warranted under section 3582(c)(1)(A)’s “extraordinary
   and compelling reasons” clause, the Court is restrained in
   its analysis by the “policy statements issued by the
   Sentencing Commission” before the First Step Act’s
   passage. Specifically, the government contends that the
   “applicable policy statement” is United States Sentencing
   Guideline Section 1B1.13. [ECF 85, pp. 8-11]. This policy
   statement “lists three specific examples of extraordinary
   and compelling reasons,” none of which arguably apply to
   Mr. Freed, and also “a fourth catch-all provision” that, on
   its face, applies only if the “Director of the Bureau of
   Prisons” determines “there exists in the defendant’s case
   an extraordinary and compelling reason other than, or in
   combination with, the reasons described.” Rodriguez, 2020
   WL 1627331, at *2 (cleaned up).

         The government argues that “[c]ourts are not free to
   expand the list of extraordinary and compelling reasons”
   noted in the policy statements. [ECF 85, pp. 10-11]. Mr.
   Freed disagrees with the government, arguing that this
   Court may determine whether “extraordinary and
   compelling reasons” exist that justify Mr. Freed’s
   immediate release, outside of the three enumerated factors



   BOP has not filed any motion for compassionate release on
   Mr. Freed’s behalf. Mr. Freed has thus satisfied his
   exhaustion requirement. See United States v. Harris, — F.
   3d —, 2020 WL 5198870, at *1 (3d Cir. July 20, 2020)
   (concluding that the lapse of 30 days satisfies the
   exhaustion requirement even if the Warden previously
   denied the defendant’s request); see also Somerville, 2020
   WL 2781585, at *3; United States v. Gray, No. 13-11, 2020
   WL 5350444, at *3 (W.D. Pa. Sept. 4, 2020) (Ranjan, J.).
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   listed at Sentencing Guideline Section 1B1.13. [ECF 86,
   pp. 1-6]. The Court agrees with Mr. Freed.

           This Court recently noted its disagreement with the
   position the government takes here. See United States v.
   Gray, No. 2:13-cr-11, 2020 WL 5350444, at *4 (W.D. Pa.
   Sept. 4, 2020) (Ranjan, J.) (explaining that this Court
   rejected the government’s “argument in Somerville, joining
   the ‘growing consensus of courts across the country’ that
   have reached the same conclusion” and explaining that the
   First Step Act renders the relied-upon policy statement’s
   limitation of “catch-all” discretion to the BOP “defunct” and
   “no longer an ‘applicable’ policy statement” (citations
   omitted)). And as explained in Gray, this Court continues
   to believe that “the most natural way to synthesize what
   remains of the Sentencing Commission’s old policy
   statement with the amendments made by the First Step
   Act is to say that the Court now ‘assumes the same
   discretion as the BOP Director when it considers a
   compassionate release motion properly before it.’” Id.
   (citation omitted). In other words, while the Commission’s
   “catch-all” authorization for compassionate release
   remains an “applicable” policy statement, the limitation of
   that authority to the BOP Director is now defunct as “part
   and parcel of the eliminated requirement that relief must
   be sought by the BOP Director in the first instance.”
   United States v. Redd, 444 F. Supp. 3d 717, 725 (E.D. Va.
   2020).

          Thus, the Court once again finds that it has the
   authority to assess whether “there exists in [Mr. Freed’s]
   case an extraordinary and compelling reason other than, or
   in combination with, the reasons described in subdivisions
   (A) through (C).” U.S.S.G. § 1B1.13(1)(D).

         C.     Mr. Freed has not shown “extraordinary
                and compelling reasons” to justify his
                release.

         Turning to the crux of Mr. Freed’s motion, the
   question is whether Mr. Freed has established
   “extraordinary and compelling” reasons for compassionate
   release under 18 U.S.C. § 3582(c)(1)(A)(i). Mr. Freed “bears
   the burden of proof of extraordinary and compelling
   circumstances[.]” Gray, 2020 WL 5350444, at *5 (citations
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    omitted). But the Court is also mindful that he is
    proceeding pro se and will construe his filings liberally.

           The proper analysis begins with the text of the
    statute, which does not “define—or place any limits on—
    what extraordinary and compelling reasons might warrant
    reduction.” Crowe v. United States, 430 F. App’x 484, 485
    (6th Cir. 2011) (cleaned up). The “catch-all” authority
    found in the Sentencing Commission’s related policy
    statement, U.S.S.G. § 1B1.13(1)(D), is similarly open-
    ended about what constitutes an “extraordinary and
    compelling” reason. As a result, the Court gives the phrase
    its ordinary meaning. See FCC v. AT&T Inc., 562 U.S. 397,
    403 (2011).

            The word “extraordinary” is commonly understood
    to mean “going beyond what is usual, regular, or
    customary,” or “exceptional to a very marked extent.”
    Extraordinary, Merriam-Webster Dictionary (2020); see
    also Extraordinary, Black’s Law Dictionary (11th ed. 2019)
    (“Beyond what is usual, customary, regular, or common.”).
    The word “compelling” means “forceful,” “demanding
    attention,” or “convincing.” Compelling, Merriam-Webster
    Dictionary (2020); see also Compelling Need, Black’s Law
    Dictionary (11th ed. 2019) (“A need so great that
    irreparable harm or injustice would result if it is not met.”).
    Thus, “at a minimum, [section] 3582(c)(1)(A)(i) requires a
    justification for release that is both unusual (i.e., unique
    to the inmate, and beyond the ordinary hardship of prison)
    and significant (i.e., serious enough to make release
    appropriate).”     Somerville, 2020 WL 2781585, at *7
    (emphasis in original).

           In Somerville, this Court surveyed compassionate-
    release decisions related to COVID-19 from across the
    country, and inferred from those cases that, to establish an
    “extraordinary and compelling” reason in this context, a
    prisoner “must at least show: (1) a sufficiently serious
    medical condition, or advanced age, placing the prisoner at
    a uniquely high risk of grave illness or death if infected by
    COVID-19; and (2) an actual, non-speculative risk of
    exposure to COVID-19 in the facility where the prisoner is
    held.” Id. at *8. This test aligns with the Third Circuit’s
    recent observation that the mere “existence of some health
    risk to every federal prisoner as the result of this global
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    pandemic does not, without more, provide the sole basis for
    granting release to each and every prisoner[.]” United
    States v. Roeder, 807 F. App’x 157, 161, n.16 (3d Cir. 2020);
    see also Raia, 954 F.3d at 597 (“[T]he mere existence of
    COVID-19 in society and the possibility that it may spread
    to a particular prison alone cannot independently justify
    compassionate release[.]”).

           Applying that standard here, Mr. Freed’s motion
    falls short. To be sure, Mr. Freed suffers from a host of
    medical ailments.      Mr. Freed asserts that he has
    hypertension, high cholesterol, and Celiac Disease. [ECF
    82, pp. 2, 11-14]. He further notes that he previously had
    tumors on his thyroid surgically removed, and previously
    had Hodgkin’s Disease, which required the removal of his
    spleen. Id. Mr. Freed also emphasizes that he is 52 years
    old. Id. The government does not contest Mr. Freed’s
    description of his medical conditions and history. [ECF 85,
    p. 12]. And the government agrees that Mr. Freed “does
    have medical issues of significance.” Id. However, even if
    his medical conditions are sufficiently serious, that is only
    part of the equation. Importantly, Mr. Freed fails to
    adequately show an actual, non-speculative, and non-
    generalized risk of exposure to COVID-19 at Fort Dix—
    which is ultimately fatal to his motion.

           Mr. Freed does not claim that he has been directly
    exposed to the virus. Rather, throughout his briefs, Mr.
    Freed highlights general risks and statistical data related
    to COVID-19 cases throughout the country, both within
    and outside prison. See, e.g., [ECF 82, pp. 11, 14, 20-21];
    [ECF 86, p. 7]. What is lacking, however, is how Mr.
    Freed—specifically—is at a uniquely heightened risk of
    direct COVID-19 exposure. Raia, 954 F.3d at 597 (“[T]he
    mere existence of COVID-19 in society and the possibility
    that it may spread to a particular prison alone cannot
    independently     justify    compassionate       release[.]”);
    Somerville, 2020 WL 2781585, at *7-8. Mr. Freed’s
    arguments describe only generalized risks that apply to
    every inmate at Fort Dix and elsewhere. See, e.g., Brooks,
    2020 WL 2509107, at *5 (“This Court has previously stated
    the mere presence of COVID-19 in a particular prison
    cannot justify compassionate release—if it could, every
    inmate in that prison could obtain release.”) (cleaned up).
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            Additionally, the Court cannot discern any
    heightened risk of exposure to COVID-19 at Fort Dix. In
    fact, there are currently zero cases of inmates or staff who
    have tested positive for COVID-19 at Fort Dix. See https://
    www.bop.gov/coronavirus/ (last visited September 17,
    2020). And the preventative measures at Fort Dix appear
    to dispel any notion that Mr. Freed has a heightened,
    specific risk of exposure to the virus. See, e.g., United
    States v. Moses, No. 14-232, 2020 WL 5117978, at *1 (E.D.
    Pa. Aug. 31, 2020) (highlighting the various procedures
    implemented at Fort Dix to limit exposure to COVID-19)
    (citation omitted); United States v. Phillips, No. 09-718,
    2020 WL 5076753, at *4 (E.D. Pa. Aug. 27, 2020) (“The
    efforts made by the BOP at FCI Fort Dix have proven
    successful. . . . [C]onsidering the extensive measures
    implemented by the BOP to control the spread of COVID-
    19 and that those measures have allowed for low to zero
    transmission rates, the risk of [Defendant] contracting
    COVID-19 is very low.”); United States v. Hull, No. 17-132,
    2020 WL 2475639, at *3 (D. Conn. May 13, 2020).

          Because Mr. Freed does not show more than a
    generalized and speculative risk of exposure to COVID-19,
    the Court concludes that he has not shown extraordinary
    and compelling reasons to justify early release.

          D.     Reducing Mr. Freed’s sentence would
                 conflict with the section 3553(a)
                 considerations.

           Even if Mr. Freed had shown “extraordinary and
    compelling reasons” for a sentence reduction, that is not
    the end of the discussion. The Court must also weigh those
    extraordinary reasons against the ordinary sentencing
    factors under 18 U.S.C. § 3553(a) “to the extent that they
    are applicable.” 18 U.S.C. § 3582(c)(1)(A); see United States
    v. Easter, — F.3d —, 2020 WL 5525395, at *3, 7 (3d Cir.
    Sept. 15, 2020). If the section 3553(a) factors weigh
    strongly against release, that can overcome otherwise
    “extraordinary and compelling reasons.” See United States
    v. Jones, No. 12-38, 2020 WL 3871084, at *4 (W.D. Pa. July
    8, 2020) (Ambrose, J.) (“[I]n considering the section 3553(a)
    factors, the Court should assess whether those factors
    outweigh the ‘extraordinary and compelling reasons’
    warranting compassionate release, particularly whether
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    compassionate release would undermine the goals of the
    original sentence.”) (cleaned up). 3

           Weighing the section 3553(a) factors here, the Court
    finds that a reduction in sentence is not appropriate.

           The Court has considered the entire record in this
    case, including the pre-sentence report, the sentencing
    submissions, the sentencing transcript, and the materials
    submitted by the parties in connection with this motion.
    As the record shows, Mr. Freed’s offenses are serious.
    [ECF 29]; [ECF 36]; [ECF 45]; [ECF 60]. 4 Beginning in
    2010, Mr. Freed began targeting multiple girls—who were
    minors at the time—seeking to obtain sexually explicit
    photos from them. Lying, cajoling, and threatening, Mr.
    Freed was able to extract explicit photos from multiple

    3  The section 3553(a) factors are: (1) the nature and
    circumstances of the offense and the history and
    characteristics of the defendant; (2) the need for the
    sentence imposed (a) to reflect the seriousness of the
    offense, to promote respect for the law, and to provide just
    punishment for the offense, (b) to afford adequate
    deterrence to criminal conduct, (c) to protect the public
    from further crimes of the defendant, and (d) to provide the
    defendant with needed educational or vocational training,
    medical care, or other correctional treatment in the most
    effective manner; (3) the kinds of sentences available; (4)
    the kinds of sentence and the sentencing range established
    for (a) the applicable category of offense committed by the
    applicable category of defendant as set forth in the
    guidelines; (5) any pertinent policy statement; (6) the need
    to avoid unwarranted sentence disparities among
    defendants with similar records who have been found
    guilty of similar conduct; and (7) the need to provide
    restitution to any victims of the offense. See United States
    v. Jackson, 390 F. App’x 130, 133, n.5 (3d Cir. 2010)
    (cleaned up).

    4 The following facts regarding the nature of the offenses
    are largely taken from the pre-sentence report and
    sentencing transcript. [ECF 29]; [ECF 60]. Additionally,
    the Third Circuit’s opinion on Mr. Freed’s direct appeal
    summarized many of the relevant facts in the record. [ECF
    79-1, pp. 2-3].
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    victims. After obtaining these photos, he would then use
    the photos to extort more sexually explicit photos from the
    girls by threatening to distribute the photos to the girls’
    friends and family. With at least one victim, Mr. Freed
    carried out his threat, distributing the explicit photos to
    the girl’s friends and family when she refused to send him
    more.

           In communicating with the victims, Mr. Freed posed
    as his step-daughter, who was around 16 years old at the
    time. Mr. Freed created a fake Facebook account and
    several email addresses in his step-daughter’s name. He
    also used a prepaid cellphone. Through these means of
    communication, Mr. Freed—posing as his step-daughter—
    demanded, cajoled, and threatened the minor victims in his
    pursuit to obtain sexually explicit photos from them. While
    not necessary to repeat in this opinion, his messages to the
    victims were often graphic and demeaning.

           In addition to targeting a number of unrelated
    minors, Mr. Freed also targeted his step-daughter.
    Pretending to be a stranger, he extorted her for sexually
    explicit photos, while verbally and mentally abusing her.
    Mr. Freed’s acts drove his step-daughter to the brink of
    suicide. Wanting the tormenting to stop, Mr. Freed’s step-
    daughter told her tormentor (unbeknownst to her, her own
    step-father) that she was considering suicide. But this
    didn’t matter. He didn’t stop. Despite having lived in the
    same home for ten years, Mr. Freed continued to extort and
    taunt his step-daughter in his pursuit of explicit photos.

          Mr. Freed’s criminal activities continued for around
    a year until he was investigated and arrested by the
    authorities. At his arrest, the police found his cellphone,
    which contained around 700 sexually explicit photos, many
    of which were of the minor victims.

           All told, the Court finds, taking a holistic view of all
    the section 3553(a) factors, a sentencing reduction here is
    inappropriate. Specifically, the nature and circumstances
    of the offenses, and the need for the sentence imposed to
    reflect the seriousness of the offense, to promote respect for
    the law, to provide just punishment for the offense, to
    afford adequate deterrence, and to protect the public from
    further crimes of Mr. Freed, all counsel against early
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    release. These offenses are severe. They caused undoubted
    trauma to the victims. And that trauma is heightened as
    the victims were merely minors—individuals who now
    must live most of their life with those experiences.

           Moreover, Mr. Freed committed his offenses through
    electronic means, sitting in his car and in his home. Thus,
    while Mr. Freed emphasizes that his crimes were not
    physically violent, his crimes, unlike other crimes, can be
    executed without ever walking out the front door.

          Further, Mr. Freed’s sentence weighs against a
    reduction here. Mr. Freed was sentenced to a 20-year term
    of imprisonment. But the sentencing guidelines advised a
    sentence of life imprisonment.       And the mandatory
    minimum for Mr. Freed’s offenses was 15-years
    imprisonment. Thus, facing a guideline range of life
    imprisonment, Mr. Freed received a sentence only five
    years longer than the mandatory minimum. Having now
    served approximately 8 years of his 20-year sentence, more
    than half of his sentence remains to be served. The Court
    does not find that reducing his sentence by more than half
    is warranted; and if such a reduction were granted, it
    would create the kind of sentencing disparity that the law
    seeks to avoid. See, e.g., United States v. Begin, 696 F.3d
    405, 412 (3d Cir. 2012) (stating that section “3553(a)(6) is
    designed to discourage” sentence “disparities within the
    federal system”). 5



    5The Court does not mean to suggest that release is never
    appropriate when a defendant has substantial time
    remaining on his sentence or has already received a
    downward variance or departure relative to the guidelines.
    To the contrary, this Court has rejected such arguments.
    See Somerville, 2020 WL 2781585, at *12 (“[A]ll federal
    prisoners have committed serious crimes. If generalized
    (albeit legitimate) concerns about the dangers of guns and
    drugs were enough to bar to compassionate release, almost
    no one would be eligible.”); id. at *16 (“If the Court grants
    Mr. Somerville’s motion, he may be treated more favorably
    than some ‘similarly situated’ prisoners. On the other
    hand, if the Court denies Mr. Somerville’s motion, he will
    just as likely be treated less favorably than many others.
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           Finally, the Court addresses Mr. Freed’s specific
    arguments as they relate here. Mr. Freed acknowledges
    that his crimes are severe. But after acknowledging the
    serious nature of his acts, Mr. Freed unavailingly relies on
    a “it could have been worse” argument. He emphasizes
    that this isn’t a case involving a child being sexually
    assaulted; nor a case involving filming and distributing the
    sexual assault; nor a case of forcing a child into sexual
    slavery. [ECF 86, pp. 10-13]. Rather, Mr. Freed asserts,
    this is a case about the victims merely “sexting.” Id. But
    as it was when this argument was raised during Mr.
    Freed’s initial sentencing, this argument remains
    unavailing. It is insufficient to argue that while his acts
    were bad, they could have been worse. So too could have
    been his sentence.

          Accordingly, the Court concludes that reducing Mr.
    Freed’s sentence is not warranted here under the
    applicable 3553(a) factors.

                         CONCLUSION

          For the reasons discussed above, Mr. Freed’s motion
    for compassionate release under 18 U.S.C. §
    3582(c)(1)(A)(i), and motion for appointment of counsel, is
    denied.

          An appropriate order follows.




    The principle of ‘avoiding disparity’ cuts both ways—not
    always in favor of a longer sentence.”).

           Here, however, it is the confluence of sentencing
    factors—substantial time remaining on a sentence below a
    guideline range of life imprisonment, a serious underlying
    crime with minors and a close family member as victims,
    and the absence of mitigating factors not reflected in the
    original sentence—that persuades the Court that the
    section 3553(a) factors weigh against release. A strong
    showing of “extraordinary and compelling” reasons could,
    in an appropriate case, overcome some of these concerns.
    But the at-best marginal showing Mr. Freed has made here
    could not overcome them all.
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    DATED this 18th day of September, 2020.

                            BY THE COURT:


                            /s/ J. Nicholas Ranjan
                            United States District Judge
